     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 1 of 23
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 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 2

 3

 4     UNITED STATES OF AMERICA               )
                                              )
 5                                            )
       vs.                                    )
 6                                            ) No. 1:13-cr-10017-RWZ-2
                                              )
 7     JONATHAN DASILVA,                      )
                                              )
 8                           Defendant.       )

 9

10     BEFORE:   THE HONORABLE RYA W. ZOBEL

11

12                               SENTENCING HEARING

13

14

15                John Joseph Moakley United States Courthouse
                                 Courtroom No. 12
16                             One Courthouse Way
                                 Boston, MA 02210
17                           Wednesday, May 27, 2015
                                    3:20 p.m.
18

19

20
                           Brenda K. Hancock, RMR, CRR
21                           Official Court Reporter
                  John Joseph Moakley United States Courthouse
22                              One Courthouse Way
                                 Boston, MA 02210
23                                (617)439-3214

24

25
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 2 of 23
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 1     APPEARANCES:

 2

 3           US ATTORNEY'S OFFICE - MA
             By: AUSA Emily O. Cummings
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             1 Courthouse Way
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 7           LAW OFFICES OF KEVIN J. REDDINGTON
             By: Kevin J. Reddington, Esq.
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 9           Brockton, MA 02301
             On behalf of the Defendant.
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     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 3 of 23
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 1               (The following proceedings were held in open court

 2     before the Honorable Rya W. Zobel, United States District

 3     Judge, United States District Court, District of Massachusetts,

 4     at the John J. Moakley United States Courthouse, One Courthouse

 5     Way, Courtroom 1, Boston, Massachusetts, on

 6     Wednesday, May 27, 2015):

 7               THE CLERK:    All rise.    Good afternoon.     Please be

 8     seated.

 9               This is The United States v. Jonathan Dasilva,

10     Criminal No. 13-10017.      If counsel could please identify

11     themselves for the record.

12               MS. CUMMINGS:     Good afternoon, your Honor.

13               THE COURT:    Ms. Cummings for the Government, and

14     Mr. Reddington for the defendant.

15               MR. REDDINGTON:     Good afternoon, your Honor.

16               THE COURT:    Welcome back.

17               MS. CUMMINGS:     Thank you.

18               THE COURT:    I don't believe there were any objections.

19     Yes, there were objections.

20               Objection 1, the reference to drug-trafficking

21     organization and Objection 2 about Aiding and Abetting, I

22     believe that the Probation Officer who prepared the report is

23     correct on those.     The first piece, Paragraph 9, wasn't really

24     talking about the defendant, was simply describing the

25     situation, and the second one he was charged with the offense
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 4 of 23
                                                                              4




 1     and with Aiding and Abetting, and so it correctly describes

 2     that.   Objection Number 3 having to do with the 11(c)(1)(C)

 3     plea and the equivalent of marijuana, I think the Probation

 4     Officer is correct on that one.       The marijuana equivalents is

 5     defined in the Rules and Regulations in the Guidelines, and

 6     unless there is an arithmetic mistake, there is nothing there.

 7               And with respect to Paragraph 37, the Offense Level

 8     calculation, as she points out, is based on what the count of

 9     conviction is, which is Felon in Possession of a Firearm, even

10     though he didn't himself possess it at the time at the

11     courthouse.    He was Aiding and Abetting in that respect, but

12     that still counts as possession.

13               The statement that the firearm would be used, again,

14     it was based on the telephone call in which the gun was ordered

15     to be taken there for the purpose to be used.         The directing of

16     actions of Mr. Brandao and Gomes, that, too, is based on the

17     telephone conversation that Mr. Dasilva had.

18               The stolen vehicle is based on using a rental car

19     without authority, which I think pretty much equates.            And

20     Objection Number 9 having to do with the charge in Georgia,

21     it's there.    I don't know what the evidence is of that,

22     Ms. Marcy.    But, as she points out, it makes no difference at

23     all to the calculations --

24               MR. REDDINGTON:     I agree with that.

25               THE COURT:    -- so I think we can just ignore it.
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 5 of 23
                                                                                5




 1               In any event, the calculation is equally irrelevant,

 2     because we have an 11(c)(1)(C) plea --

 3               MR. REDDINGTON:     That's right.

 4               THE COURT:    -- and I will hear the Government.

 5               MS. CUMMINGS:     Thank you, your Honor.     As the Court's

 6     aware, the range in the (C) plea recommendation is 120 to 168

 7     months.   The Government stood before your Honor on numerous

 8     occasions at this point and tried not to nitpick over terms of

 9     years which may be inconsequential to actual substantive

10     changes taking place within the defendants to avoid them being

11     back before the Court today, and I'm not going to stray from

12     that argument.    Mr. Dasilva is very charismatic, he's very

13     charming, he's exceedingly capable.        He comes from a huge

14     family that supports --

15               THE COURT:    Is all here.

16               MS. CUMMINGS:     -- is all here and supports him, almost

17     flirting with hero worship.      It's easy to see why.      He's

18     capable of absolutely anything he puts his mind to.

19     Unfortunately, with that support has come unconditional support

20     for whatever criminal activities he's involved in.          Many, many

21     excuses, histories of excuses for why poor Jonathan is, once

22     again, distributing drugs or out on the street terrorizing

23     Woodward Avenue or shooting at other gang members.          It's never

24     his fault, it's always part of his upbringing, nobody

25     understands because they're not from the community.          It gets
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 6 of 23
                                                                               6




 1     old, it gets tired, and it provides Mr. Dasilva with the

 2     excuses he needs to engage in the same behavior.          And, like I

 3     said, this is somebody who is capable of probably amazingly

 4     good things that would help his community, would benefit his

 5     community, would help younger kids who are out on the same

 6     streets he grew up in making the bad decisions he made.          I

 7     don't know if 120 months is enough to make him make that

 8     decision for himself, that he wants to be a positive in

 9     people's lives, instead of continuing to be a negative.          I

10     don't know if 168 months is what it will take, but it's the

11     Government's hope that he really starts making better

12     decisions.

13               I'm not convinced that this is going to matter either

14     way with Mr. Dasilva.     I'm not convinced that he doesn't think

15     he pulled a fast one by charming his way into some sort of

16     below-guideline sentence.

17               Just so he and I are clear, I'm not convinced that you

18     accept responsibility for what you did and you're making

19     decisions to do better things in your future.

20               But the Government really hopes that finally he's sick

21     of this, that he wants to be back out on the street, he wants

22     to be back with his family, he wants to make better decisions.

23               Throughout this case I've had an opportunity to speak

24     to many of his friends and family members.         They are an amazing

25     group of individuals, like I said repeatedly, capable of great
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 7 of 23
                                                                               7




 1     things, and I hope I never see him again in this context, I

 2     hope whatever sentence the Court imposes today is enough to

 3     make him finally get his act together and start being a

 4     positive member of his community.

 5               THE COURT:    Thank you.

 6               Mr. Reddington.

 7               MR. REDDINGTON:     Thank you, your Honor.      Your Honor,

 8     first of all, I would indicate, obviously, that I'm requesting

 9     that your Honor, on behalf of Mr. Dasilva, would impose the

10     120-month sentence, which I think is a significant and a very

11     serious one.

12               I also want to note that, as I stand before you today,

13     I have great respect for the prosecutor, the way the Government

14     handled this case.     I spoke many, many times, I spent hours

15     dealing with the prosecutor in trying to come to grips with the

16     case dealing with Mr. Dasilva and talking about the case, going

17     back to Ms. Cummings.     And, quite frankly, Ms. Cummings even

18     spoke directly to Mr. Dasilva, and I think there was a good

19     dialogue there.

20               I do feel, your Honor, sincerely, that there have been

21     things that have happened in Jonathan's life since he has been

22     incarcerated that have really struck him right between the

23     eyes, and I do believe that he has taken it to heart.            I do

24     agree and echo with the comments of the Government.          One of the

25     most incredible families that I've ever had occasion to work
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 8 of 23
                                                                               8




 1     with (indicating).     His family, his cousins, his mother, his

 2     father are very, very supportive, very, very nice people.          Your

 3     Honor has the letters from, I believe, his aunt.          Your Honor, I

 4     think, when you allowed Mr. Dasilva to go to the funeral, I

 5     believe that he was placed in the aunt's custody.          You could

 6     see that she was a legitimate, standup person, a good influence

 7     and a strong person in his life.

 8                 Jonathan does not have, as the PSR well put together

 9     indicates, much of an education.       He has his GPS (ph).      But,

10     nevertheless, he is one of the most intelligent guys that I've

11     represented.    He's attune, he's aware, he has got a clarity,

12     and he knows the dire circumstance that he has before this

13     Court.

14                 He knows, as I would suggest, that he is at a

15     crossroads.    And the reason I say that is that he has accepted

16     responsibility, and in the sense of accepting responsibility,

17     if you look, as I know your Honor has, at basically the

18     evidence, he considered himself in this situation to be a weed

19     guy.     All of the controlled buys, except for the OxyContin

20     controlled buys, you can see that he's a weed guy, he's a weed

21     guy, he's a weed guy.     I believe that he was picked up on a

22     wire where a guy wanted to buy some powder.         He said, "I don't

23     deal in the white stuff," but he did, nevertheless, make a

24     recommendation of another person that would be able to handle

25     that, which is why, under the concept of conspiracy, he is
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 9 of 23
                                                                               9




 1     aware of that and has certainly accepted his responsibility.

 2                Now, I've been up to Middleton enumerable times, and

 3     I've really got to know him very well, and, not that it really

 4     weighs heavily with the Court, but I really like this kid.        I

 5     do agree with the Government, he has got a lot to offer.

 6     Whether or not at some point he ever gets into social work and

 7     he tries to talk to kids, he would move kids, I know he would.

 8     And he has never been a "Poor me" guy.        He's never used excuses

 9     with me.   He's always been up front about, "I know what I did,

10     and I accept the responsibility."

11                But what really impacted on him was the death of the

12     grandfather, and I got the call from him.         He was emotional.   I

13     saw him.   I spoke to Ms. Cummings.      We filed a motion before

14     this Court to have him be able to go to that wake, the

15     services, or to the viewing.       He was absolutely dumbstruck, is

16     the only way I can express it, that you, your Honor, showed the

17     faith and the confidence and the respect that he would be

18     allowed to leave this courthouse with a lengthy potential

19     sentence ahead of him, in the event the matter went to trial,

20     and when I saw him leave the courthouse and he was wearing a

21     different outfit than the orange jumpsuit, and he went and he

22     did do the viewing, and then he came back, as your Honor

23     instructed, I think 15 minutes early, that has never left him.

24     That has had such a significant impact on him.         The power that

25     a Federal Judge has, and the fact that you had the faith that
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 10 of 23
                                                                                  10




 1     he would come back here, I think is something that really moved

 2     him.

 3                The fear that he has that he would lose his

 4     grandfather, who was, I think you know, 82 years of age and he

 5     was not well.     So, he has lost someone while he was

 6     incarcerated, has a very strong probability that he could lose

 7     someone else that's very near and dear to him while he's

 8     incarcerated, and he does not, as counsel indicated, he does

 9     not want to do this anymore.       He does not want to be involved

10     with this type of activity.       He wants to truly try to

11     contribute.     And I'm not just saying this.      I mean, he wants to

12     try to contribute to his family, to his community, and he wants

13     to get out of this activity.

14                A 120-month sentence, a 10-year sentence, would allow

15     under the 3553 factors that I know your Honor considers and

16     weighs very heavily, I think is not more than what would be

17     necessary to punish him.      It's a serious punishment.          Your

18     Honor can look at his record.       He does not have incarceration.

19     Most of his convictions were weed-related.         I believe he was in

20     Brockton Superior Court in front of Judge Carol Ball in his

21     last case, and he was given probation and told to live in

22     Georgia for a period of time, which he did.

23                He has never been in jail.      I'm not going to say he's

24     concerned about federal prison, but he certainly knows that

25     it's going to be a bit of an ugly road ahead of him.              But he
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 11 of 23
                                                                                11




 1     does have a positive approach.       He wants to get an education,

 2     he wants to get training, he wants to be able to have contact

 3     with his family, obviously while incarcerated, and then, of

 4     course, on supervised release he would be subject to the terms

 5     and conditions that your Honor would impose.

 6                It just strikes me, your Honor, that the Government

 7     has come so far in this case trying to reach this guy, I think

 8     he's well aware of his exposure before you today.          I would ask

 9     that you impose the low end of the 11(C).         That, I think, would

10     be a significant sentence, but it would recognize the fact that

11     he does have qualities and attributes that are worthwhile

12     consideration, and I think he'd make you proud, and I would ask

13     that you impose the lower end of the sentence, your Honor.

14                THE COURT:    Mr. Dasilva.

15                THE DEFENDANT:    Dear Honorable Judge Zobel --

16                THE COURT:    Can you speak up, please.      Thank you.     In

17     fact, if you sit down, and then the microphone, which is behind

18     the computer, can come over.

19                But you need to turn it on, Mr. Reddington.            There is

20     a switch behind at the back-end.        No.   It's on the stem, the

21     stem part.

22                THE CLERK:    Right there.

23                MR. REDDINGTON:    Got it.

24                THE COURT:    There it is.

25                MR. REDDINGTON:    Thank you.
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 12 of 23
                                                                                12




 1                THE COURT:    Now bring it down a little bit.          There you

 2     go.   Thank you.

 3                THE DEFENDANT:    Dear Honorable Judge Zobel, I stand

 4     before you today with sincere remorse for the irresponsible and

 5     dangerous conduct I engaged in that led me to my arrest in

 6     January 2013.     I know that there was no excuse or satisfactory

 7     explanation for my actions, and I accept complete

 8     responsibility for what I have done.

 9                I also extend my heartfelt apologies to my family,

10     especially my mother, the Courts and my community.          I am truly

11     sorry.    Since the incident, I have spoken to a community leader

12     as well as a bishop, which has helped me gain insight on my

13     contribution to the community's harm.        I have had a lot of time

14     to reflect on the decision I have made that placed me in this

15     position where I forfeit all of my privileges.

16                I recently experienced a moment where I suddenly felt

17     appreciation for minor things such as reading and receiving a

18     newspaper.    I realize that I was consumed with cutting corners

19     to have all the things hard-working people labored for.             I was

20     embarrassed of my community instead of embracing my roots and

21     finding ways through the trials and struggles.          I surrendered

22     my soul to the streets.      I also realized that I was presented

23     with two choices:     to become a statistics or rise above it.          I

24     chose to become a statistics.

25                I in no way acted in the best interests of no other
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 13 of 23
                                                                                13




 1     than myself.     I have shamed and publicly embarrassed my family

 2     and everyone that matters to me.        I tried to live above the

 3     law, and now I'm at the mercy of the law.         I have had a lot of

 4     time to think things through and go through some heartbreaking

 5     days and experience eyes-open moments.         I recently experienced

 6     a great loss.     My grandfather suffered a massive heart attack

 7     and died the past January.       I wasn't able to offer and receive

 8     support during this time.       It pains me to imagine my

 9     grandfather thought of me prior to his death.          It also scares

10     me to know that there's a huge chance that I may never spend

11     another Thanksgiving dinner with my grandmother, Spratis (ph).

12     She's 82.

13                 I am no model for my younger brothers and little

14     sisters.    I currently have not one accomplishment to present to

15     my siblings.     I am far from success stories.      But, at the other

16     end of the spectrum, I am informing the Courts and my family

17     that I recognize that I still have an opportunity to positively

18     outline my future and add to this chapter of my life.             I am

19     currently enrolled in a GED program, and I have discovered a

20     different world through literature.

21                 Your Honor, I humbly ask you to consider this letter

22     with selection of my punishment and respectfully pray for the

23     best.   Thank you for your wisdom and integrity.

24                 THE COURT:   Thank you.

25                 MR. REDDINGTON:   I just wanted your Honor to know that
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 14 of 23
                                                                               14




 1     I have the rough draft of that.       These are his words.        This is

 2     not something that -- he really put a lot of work into trying

 3     to express his thoughts to you.

 4                THE COURT:    Thank you.    Let me explain to the family

 5     where we are.     There are various ways in which the sentencing

 6     process goes forward.      Mostly, first of all, there is a

 7     Presentence Report, and under the rules under which this Court

 8     operates there are what are called Guidelines, and they look at

 9     the offense and they look at the defendant's criminal record,

10     and then they come up with numbers.        We were talking about

11     these numbers earlier.      And usually it is then up to the judge

12     to decide what the sentence should be in terms of what these

13     calculations show, and the judge can go higher or lower or

14     sentence as the Guidelines suggest.

15                This case is different, because here Mr. Dasilva and

16     the Government have entered into an agreement, and that

17     agreement says that the defendant agrees and the Government

18     agrees that the lowest sentence I can impose is 10 years, and

19     the highest is 168 months, I think.        The sentences are in terms

20     of months, which gets sort of silly when you are talking about

21     the length of time here.

22                So, I agreed at the time of the changing of the plea

23     that I would consider that, and I have the power to sentence

24     either above what they decided or below what they decided, but

25     if I do that, then the agreement is off, and then Mr. Dasilva
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 15 of 23
                                                                            15




 1     would have to start all over again, and then who knows what the

 2     sentence would be after that.

 3                So, in a sense I have bound myself to the terms of

 4     their agreement, and I will impose a sentence at the low end of

 5     the agreement, which was, as I said, 120 to 168 months, which

 6     appears to be -- that is the low end -- appears to be the real

 7     agreement among the parties, in any event.         I just want you to

 8     understand that there is a certain understanding by Mr. Dasilva

 9     that that would be the sentence, and I have no intention of

10     changing it and making it more difficult for either of the

11     parties.

12                I should also note that I did receive a letter from

13     Ms. Fisher, a lovely letter, which I have read and taken into

14     account as well.

15                So, in accordance with the terms of the Plea

16     Agreement, I sentence you to a term of imprisonment of

17     120 months, with credit to be given for the time that you have

18     served since your arrest.       You are also sentenced to a period

19     of supervised release of 4 years.        You shall pay a Special

20     Assessment of $500, but no fine, because I do not believe you

21     have the ability to pay a fine, financial ability to pay a

22     fine.

23                The period of supervised release is subject to a

24     number of conditions:      that you shall not commit any crimes,

25     either local, state or federal, while you are on supervised
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 16 of 23
                                                                              16




 1     release, which is sort of like parole.         And I know that you

 2     have had some difficulty with parole in the past, but you will

 3     not this time around, right?

 4                THE DEFENDANT:    Yes, your Honor.

 5                THE COURT:    You shall refrain from the use of any

 6     unlawful and controlled substances.        You shall submit to the

 7     collection of a DNA sample, as directed by the Probation

 8     Office, and comply with the standard conditions.          You are

 9     prohibited from possessing any firearms or other dangerous

10     weapons.

11                And I want to explain to you that "possession" is

12     different from "ownership."       "Possession" means that you have

13     the ability to decide at any moment in time what should happen

14     to that gun or that object.       This pencil, for example, is owned

15     by the Government, but I have possession of it now.           I can give

16     it to you, I can throw it away, I can do whatever I want.            So,

17     "possession" is really a far broader concept, and you cannot

18     have possession.     Among other things, you would commit another

19     crime by doing that, and I can tell you that the sentences for

20     possession of firearms when you have a criminal record go up

21     like this (indicating).      So, don't.

22                You shall participate in a program of substance-abuse

23     counseling, as directed by the Probation Office, and submit to

24     such testing, as directed by Probation as well, but they can't

25     do that more than 104 times a year.
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 17 of 23
                                                                           17




 1                So, those are the conditions of supervised release.

 2     And I will, if you want me to, recommend to the Bureau of

 3     Prisons that he be allowed to participate in the 500-Hour

 4     Program --

 5                MR. REDDINGTON:      Yes, absolutely.

 6                THE COURT:    -- without any idea that they will take my

 7     recommendation.

 8                MR. REDDINGTON:      Thank you, your Honor.

 9                THE COURT:    Are there any other recommendations you

10     want me to make to the Bureau of Prisons?

11                MR. REDDINGTON:      No, your Honor.

12                THE COURT:    So, that is it.

13                And, Mr. Marshal, the defendant is in your custody on

14     the sentence of the Court.

15                And I do not advise you about your right to appeal,

16     because you have given up your right to appeal, so there is not

17     any.

18                MR. REDDINGTON:      Thank you, your Honor.

19                MS. CUMMINGS:    Your Honor, I think the forfeiture just

20     needs to be announced --

21                THE COURT:    I have signed it.

22                MS. CUMMINGS:    -- as part of the sentence.

23                THE COURT:    Yes.    There is an Order of Forfeiture that

24     I have signed.

25                MR. REDDINGTON:      Right.   We had addressed that before,
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 18 of 23
                                                                               18




 1     and the vehicles were not part of that forfeiture.          That's a

 2     separate matter with the civil forfeiture claim, if you will.

 3                THE COURT:    Well, the vehicles are included here.

 4                MR. REDDINGTON:    Well, no.    We had talked about that,

 5     because I have a claim, and I've been saying that for a long

 6     time.

 7                THE COURT:    I have an Audi Sedan, currency $3,900 --

 8                MR. REDDINGTON:    The currency --

 9                THE COURT:    -- jewelry.

10                MR. REDDINGTON:    Right.    And some of the jewelry was

11     being returned.

12                THE COURT:    And another currency of $31,000.

13                MR. REDDINGTON:    Right.    And I'm asking that the

14     vehicles not be subject to a forfeiture, only because I have a

15     claim that has been accepted as relates to the vehicles with

16     the civil forfeiture, and we've got documentation that, for

17     example, Sally, who owns one of the vehicles, got all the

18     records to show where she obtained the funds.          The vehicle is

19     not something that was involved in a conspiracy.          She made her

20     payments every month, she went to her insurance company to get

21     the money, and I thought that we had talked about this.           I know

22     the last time we were in court, I think the record would bear

23     it out, that I did put on the record that we had no problem

24     with the forfeiture except for the vehicles.

25                MS. CUMMINGS:    They're included within the Plea
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 19 of 23
                                                                            19




 1     Agreement.    I think they facilitated some --

 2                THE COURT:    There's only one vehicle.

 3                MS. CUMMINGS:    Well, the Audi is included in the Plea

 4     Agreement, and it was used as a facilitation of a deal on

 5     August 24, 2012.     The 2005 Audi --

 6                MR. REDDINGTON:    Which one is it that you're referring

 7     to?

 8                MS. CUMMINGS:    Just the one listed in the Plea

 9     Agreement.

10                MR. REDDINGTON:    I just want to know who it's owned

11     by, if it's owned by Sally.

12                MS. CUMMINGS:    2005 Audi A6.

13                THE COURT:    I'm sorry.    What paragraph?

14                MS. CUMMINGS:    It's Page 7, Paragraph 2.

15                MR. REDDINGTON:    Again, see, that is --

16                THE COURT:    It says "any vehicles seized."

17                MR. REDDINGTON:    It may seem like a small point, but

18     that's a vehicle that's owned by his father.         It's not owned by

19     Mr. Dasilva.     If he was using it on one occasion -- it just

20     seems the equities would lie, if I would be able to at least

21     deal with the civil forfeiture, because I did put the claim in

22     for both vehicles.      The other vehicle is not subject to the

23     forfeiture in this Plea Agreement.        As I say, it's a 2005, a

24     10-year-old car.     It's not a huge asset at stake, but it means

25     a lot to the father.
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 20 of 23
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 1                 THE COURT:   Well, it says he waives any claims he may

 2     have to any vehicles --

 3                 MR. REDDINGTON:   Exactly.

 4                 THE COURT:   -- seized or other personal property that

 5     were seized.

 6                 MR. REDDINGTON:   And then when we were in front of you

 7     on the 11(C), I do remember, now that you read that, that the

 8     issue was resolved that he, meaning "he," meaning Jonathan

 9     Dasilva, waives any claim he would have to these vehicles.        He

10     doesn't own the vehicle.      He doesn't have any ownership

11     interest in his dad's vehicle.

12                 MS. CUMMINGS:   I mean, that's what it says in the Plea

13     Agreement.    If his father's filing a separate claim, that's not

14     covered under this --

15                 MR. REDDINGTON:   All right.    Fine.   That would resolve

16     it, then.    He waives whatever interest, if any, he has in the

17     vehicle.

18                 THE COURT:   But does the order of forfeiture change

19     anything in that?     Does he still have the right to say, "It

20     wasn't mine"?

21                 MS. CUMMINGS:   It doesn't matter if it was his or not.

22     It facilitated a drug transaction, which I believe is the

23     theory that it was seized under.        I am not privy to what's been

24     going on between Mr. Reddington and the Civil Division

25     regarding that, but I'm assuming they are working it out
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 21 of 23
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 1     amongst themselves, if it is to be worked out.

 2                MR. REDDINGTON:    Right.    I filed a claim within the

 3     time frame, and they acknowledged receipt of the claim then and

 4     we were waiting for this case to be resolved to proceed?

 5                MS. CUMMINGS:    So, then --

 6                THE COURT:    So, it's okay?

 7                MR. REDDINGTON:    I would rather that it be excised, if

 8     you will, from the forfeiture.        I think that would make it much

 9     cleaner, but if the Government objects to that --

10                MS. CUMMINGS:    Yeah, we object to that.      The

11     forfeiture dealt with that section of the Plea Agreement, so

12     without knowing the specifics --

13                THE COURT:    Well, the Plea Agreement doesn't deal with

14     any specific car.

15                MS. CUMMINGS:    No, it does.

16                THE COURT:    Where?

17                MS. CUMMINGS:    Page 7.

18                THE COURT:    It says "vehicles."

19                MS. CUMMINGS:    The bottom of Paragraph 2.

20                THE COURT:    Oh, yes, it does deal with the Audi.

21     You're right.

22                MR. REDDINGTON:    So, if the order of the Court could

23     indicate that Mr. Dasilva waives any interest that he has and

24     forfeits any interest in that vehicle, I think that would be

25     something I could work with.
     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 22 of 23
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 1                THE COURT:    Have you seen the order?      Which way are

 2     you going?

 3                MR. REDDINGTON:      Right here.   Does that work?

 4                THE COURT:    Yes.

 5                      (Document provided to Mr. Reddington)

 6                MR. REDDINGTON:      Yeah, his interest in the vehicle.

 7     So, I think that would be fine.

 8                THE COURT:    Okay.   Thank you.

 9                MR. REDDINGTON:      Thank you, your Honor.

10                THE COURT:    Court is in recess.

11           (WHEREUPON, the proceedings adjourned at 3:50 p.m.)

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     Case 1:13-cr-10017-RWZ Document 1765 Filed 06/09/16 Page 23 of 23
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 1                            C E R T I F I C A T E

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 3

 4                I, Brenda K. Hancock, RMR, CRR and Official Reporter

 5     of the United States District Court, do hereby certify that the

 6     foregoing transcript constitutes, to the best of my skill and

 7     ability, a true and accurate transcription of my stenotype

 8     notes taken in the matter of United States v. Dasilva, No.

 9     1:13-cr-10017-RWZ-2.

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13

14     November 20, 2015                   /s/ Brenda K. Hancock
                                          Brenda K. Hancock, RMR, CRR
15                                        Official Court Reporter

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